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    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                      No. 25-1579

                 Atlas Data Privacy Corp, et al v. MyHeritage Ltd, et al

                       (U.S. District Court No.: 1:24-cv-04392)


                                       ORDER

     It is hereby ORDERED that the above matter is dismissed pursuant to Fed. R.
App. P. 42(b). A certified copy of this order is issued in lieu of a formal mandate.



For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: May 22, 2025
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